

People v Jackson (2023 NY Slip Op 01764)





People v Jackson


2023 NY Slip Op 01764


Decided on April 04, 2023


Appellate Division, First Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided and Entered: April 04, 2023

Before: Webber, J.P., Oing, Gesmer, Mendez, Shulman, JJ. 


Ind. No. 2251/02 Appeal No. 17633 Case No. 2016-1886 

[*1]The People of the State of New York, Respondent,
vFreddie Jackson, Appellant.


Twyla Carter, The Legal Aid Society, New York (Kerry Elgarten of counsel), for appellant.
Alvin L. Bragg, Jr., District Attorney, New York (Faith DiTrolio of counsel), for respondent.



Order, Supreme Court, New York County (Bonnie G. Wittner, J.), entered on or about March 22, 2016, which adjudicated defendant a level two sexually violent offender pursuant to the Sex Offender Registration Act (Correction Law art 6-C), unanimously affirmed, without costs.
The court correctly assessed points under the risk factor for unsatisfactory conduct while confined, based on a pattern of misconduct that included a recent tier III violation and six tier II violations (see People v Sanchez, 209 AD3d 414 [1st Dept 2022], lv denied 39 NY3d 906 [2023]). In any event, regardless of whether defendant's correct point score is 85 points, as found by the court, or 75 points, as he contends, he remains a level two offender.
Because defendant did not specifically request a downward departure, his contention that he should have received such a departure is unpreserved (see People v Gillotti, 23 NY3d 841, 861 n 5 [2014]), and we decline to address this fact-based argument, made for the first time on appeal. In any event, we find no basis for a departure. 
THIS CONSTITUTES THE DECISION AND ORDER OF THE SUPREME COURT, APPELLATE DIVISION, FIRST DEPARTMENT.
ENTERED: April 4, 2023








